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           IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA, AND THE        )
STATES OF CALIFORNIA, FLORIDA,           )
ILLINOIS, INDIANA, MASSACHUSETTS,        )
MINNESOTA, MONTANA, NEW JERSEY,          )
NEW MEXICO, NEW YORK, AND                )
TENNESSEE, AND THE DISTRICT OF           )
COLUMBIA, each ex rel. LYNNTOYA          )   Civil Action
WASHINGTON and MICHAEL T.                )   No. 07-CV-461
MAHONEY,                                 )
               Plaintiffs,               )
            v.                           )
                                         )
EDUCATION MANAGEMENT                     )
CORPORATION; EDUCATION                   )
MANAGEMENT HOLDINGS LLC;                 )
EDUCATION MANAGEMENT LLC; THE            )   MEMORANDUM OPINION AND
ART INSTITUTE OF CALIFORNIA –            )   ORDER OF COURT
HOLLYWOOD; THE ART INSTITUTE OF          )
CALIFORNIA – INLAND EMPIRE; THE ART      )
INSTITUTE OF CALIFORNIA – LOS            )
ANGELES; THE ART INSTITUTE OF            )
CALIFORNIA – ORANGE COUNTY; THE          )
ART INSTITUTE OF CALIFORNIA –            )
SACRAMENTO; THE ART INSTITUTE OF         )
CALIFORNIA – SAN DIEGO; THE ART          )
INSTITUTE OF CALIFORNIA – SAN            )
FRANCISCO; THE ART INSTITUTE OF          )
CALIFORNIA – SUNNYVALE; ARGOSY           )
UNIVERSITY, INLAND EMPIRE; ARGOSY        )
UNIVERSITY, ORANGE COUNTY; ARGOSY        )
UNIVERSITY, SAN DIEGO; ARGOSY            )
UNIVERSITY, SAN FRANCISCO; ARGOSY        )
UNIVERSITY, SANTA MONICA; WESTERN        )
STATE UNIVERSITY COLLEGE OF LAW;         )
THE ART INSTITUTE OF FORT                )
LAUDERDALE; THE ART INSTITUTE OF         )
JACKSONVILLE; THE ART INSTITUTE OF       )
TAMPA; MIAMI INTERNATIONAL               )
UNIVERSITY OF ART & DESIGN; ARGOSY       )
UNIVERSITY, SARASOTA; ARGOSY             )
UNIVERSITY, TAMPA; SOUTH                 )
UNIVERSITY/WEST PALM BEACH; SOUTH        )
UNIVERSITY/TAMPA; BROWN MACKIE           )

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COLLEGE – MIAMI; THE ILLINOIS            )
INSTITUTE OF ART – CHICAGO; THE          )
ILLINOIS INSTITUTE OF ART –              )
SCHAUMBERG; ARGOSY UNIVERSITY,           )
CHICAGO; ARGOSY UNIVERSITY,              )
SCHAUMBURG; BROWN MACKIE                 )
COLLEGE – MOLINE; THE ART                )
INSTITUTE OF INDIANAPOLIS; BROWN         )
MACKIE COLLEGE – MERRILLVILLE;           )
BROWN MACKIE COLLEGE – MICHIGAN          )
CITY; BROWN MACKIE COLLEGE – FORT        )
WAYNE; BROWN MACKIE COLLEGE –            )
SOUTH BEND; BROWN MACKIE COLLEGE         )
– INDIANAPOLIS; THE ART INSTITUTES       )
INTERNATIONAL MINNESOTA; ARGOSY          )
UNIVERSITY, TWIN CITIES; BROWN           )
MACKIE COLLEGE – ALBUQUERQUE;            )
THE ART INSTITUTE OF NEW YORK CITY;      )
THE ART INSTITUTE OF TENNESSEE –         )
NASHVILLE; ARGOSY UNIVERSITY,            )
NASHVILLE; THE ART INSTITUTE OF          )
ATLANTA; THE ART INSTITUTE OF            )
ATLANTA – DECATUR; THE ART               )
INSTITUTE OF AUSTIN; THE ART             )
INSTITUTE OF CHARLESTON; THE ART         )
INSTITUTE OF CHARLOTTE; THE ART          )
INSTITUTE OF COLORADO; THE ART           )
INSTITUTE OF DALLAS; THE ART             )
INSTITUTE OF FORT WORTH; THE ART         )
INSTITUTE OF HOUSTON; THE ART            )
INSTITUTE OF HOUSTON – NORTH; THE        )
ART INSTITUTE OF LAS VEGAS; THE ART      )
INSTITUTE OF MICHIGAN; THE ART           )
INSTITUTE OF OHIO – CINCINNATI; THE      )
ART INSTITUTE OF PHILADELPHIA; THE       )
ART INSTITUTE OF PHOENIX; THE ART        )
INSTITUTE OF PITTSBURGH; THE ART         )
INSTITUTE OF PORTLAND; THE ART           )
INSTITUTE OF RALEIGH – DURHAM; THE       )
ART INSTITUTE OF SAN ANTONIO; THE        )
ART INSTITUTE OF SALT LAKE CITY;         )
THE ART INSTITUTE OF SEATTLE; THE        )
ART INSTITUTE OF TUCSON; THE ART         )
INSTITUTE OF VANCOUVER; THE ART          )
INSTITUTE OF VIRGINIA BEACH; THE         )
ART INSTITUTE OF WASHINGTON; THE         )

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ART INSTITUTE OF WASHINGTON –            )
NORTHERN VIRGINIA; THE ART               )
INSTITUTE OF WISCONSIN; THE ART          )
INSTITUTE OF YORK – PENNSYLVANIA;        )
THE ART INSTITUTES INTERNATIONAL –       )
KANSAS CITY; THE NEW ENGLAND             )
INSTITUTE OF ART; ARGOSY                 )
UNIVERSITY, ATLANTA; ARGOSY              )
UNIVERSITY, DALLAS; ARGOSY               )
UNIVERSITY, DENVER; ARGOSY               )
UNIVERSITY, HONOLULU; ARGOSY             )
UNIVERSITY, PHOENIX; ARGOSY              )
UNIVERSITY, SALT LAKE CITY; ARGOSY       )
UNIVERSITY, WASHINGTON D.C.; SOUTH       )
UNIVERSITY/SAVANNAH; SOUTH               )
UNIVERSITY/MONTGOMERY; SOUTH             )
UNIVERSITY/COLUMBIA; SOUTH               )
UNIVERSITY/RICHMOND; SOUTH               )
UNIVERSITY/NOVI; SOUTH                   )
UNIVERSITY/VIRGINIA BEACH; BROWN         )
MACKIE COLLEGE – AKRON; BROWN            )
MACKIE COLLEGE – CINCINNATI;             )
BROWN MACKIE COLLEGE – FINDLAY;          )
BROWN MACKIE COLLEGE – NORTHERN          )
KENTUCKY; BROWN MACKIE COLLEGE –         )
NORTH CANTON; BROWN MACKIE               )
COLLEGE – ATLANTA; BROWN MACKIE          )
COLLEGE – KANSAS CITY; BROWN             )
MACKIE COLLEGE – SALINA; BROWN           )
MACKIE COLLEGE – LOUISVILLE;             )
BROWN MACKIE COLLEGE –                   )
HOPKINSVILLE; BROWN MACKIE               )
COLLEGE – TUCSON; BROWN MACKIE           )
COLLEGE – BOISE; BROWN MACKIE            )
COLLEGE – TULSA; BROWN MACKIE            )
COLLEGE – PHOENIX; BROWN MACKIE          )
COLLEGE – GREENVILLE; BROWN              )
MACKIE COLLEGE – ST. LOUIS; BROWN        )
MACKIE COLLEGE – SAN ANTONIO,            )
               Defendants.               )
                                         )
                                         )
                                         )
                                         )
                                         )



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                                  MEMORANDUM OPINION

       Pending before the Court are DEFENDANTS’ MOTION TO DISMISS PURSUANT TO

FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND 12(b)(6), AND, IN THE

ALTERNATIVE, MOTION TO STRIKE UNDER FEDERAL RULE OF CIVIL PROCEDURE

12(f) (Document No. 145) and DEFENDANTS’ MOTION TO DISMISS COMPLAINT IN

INTERVENTION BY THE DISTRICT OF COLUMBIA (Document No. 165). Defendants

(collectively “EDMC”) filed briefs in support of each motion. The United States, Intervenor

States and Relators, and the District of Columbia filed briefs in opposition; EDMC filed a

consolidated reply brief; Plaintiffs filed a joint sur-reply brief; and EDMC filed a sur-sur-reply

brief. Plaintiffs also filed a notice of supplemental authority, to which EDMC responded.

Needless to say, the motions are now ripe for disposition. The Court commends counsel for the

high quality of their written advocacy.



Factual Background

       EDMC is one of the largest providers of post-high school education in America and

operates over one hundred schools. Plaintiffs allege that EDMC paid incentive compensation to

the employees who recruit new students to attend their numerous affiliated schools, referred to as

Associate or Assistant Directors of Admissions (“ADAs”), in violation of Title IV of the Higher

Education Act of 1965 (“HEA”), 20 U.S.C. § 1070 et seq., and EDMC’s Program Participation

Agreements (“PPA”). As a result of EDMC’s alleged violation of the “Incentive Compensation

Ban,” Plaintiffs contend that EDMC falsely represented its eligibility to receive federal student

aid funds. Plaintiffs aver that since July 1, 2003, EDMC and/or students enrolled in EDMC

schools have wrongfully obtained over eleven billion dollars ($11,000,000,000) in federal



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student aid funds and millions more in state funds. Plaintiffs seek treble damages under the

federal and state False Claims Acts and have also asserted a number of common law claims.

       Governmental financial support of students, beginning with the GI Bill,1 has been widely

viewed as an enlightened social policy and investment in the nation’s future. As explained in In

re Brunner, 46 B.R. 752, 756 (S.D.N.Y. 1985): “[T]hose whose past work or credit record might

foreclose them from the commercial loan market are able to obtain credit at subsidized rates to

advance their education. Those who might obtain loans only at exorbitant rates are similarly able

to obtain low cost, deferred loans. . . . it is undeniable that guaranteed student loans have

extended higher education to thousands who would otherwise have been forced to forego college

or vocational training.” The government “offers loans at a fixed rate of interest, and it does so

almost without regard for creditworthiness. Indeed, because it bases its loan decisions in part on

student need, it arguably offers loans selectively to the worst credit risks.” Id. EDMC represents

that its students come from traditionally underserved groups, and about half are minorities.

       In Association of Accredited Cosmetology Schools v. Alexander, 979 F.2d 859 (D.C. Cir.

1992), the Court provided a succinct summary of how the student loan program is structured:

       Under Title IV of the Higher Education Act of 1965, students may obtain
       “Guaranteed Student Loans” (“GSLs”) to pay their post-secondary tuition and
       expenses. Schools wishing to participate in the GSL program must apply to the
       Department of Education (“Department”) for certification as “eligible
       institutions” under the HEA. As one might expect, such certification depends on
       the schools' satisfaction of several statutory and regulatory requirements. If a
       school's application is approved, the school must sign a contract with the
       Department called a “Program Participation Agreement.” In signing the
       Agreement, the school agrees, inter alia, “to comply with all the relevant program
       statutes and regulations governing the operation of each Title IV, HEA Program
       in which it participates.” Program Participation Agreement, at 2. The school also
       agrees that the Agreement “automatically terminates ... [o]n the date the

1 There are numerous federal financial assistance programs under the HEA at issue in this

case, including Pell Grants, the Family Education Loan Program, Stafford Loans, Direct
Student Loans, Perkins Loans, the Work Study Program and the Supplemental Education
Opportunity Grant Program.

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       institution no longer qualifies as an eligible institution.” Id. at 6. Once both parties
       have signed the Program Participation Agreement, participating lenders are
       authorized to make GSLs to the school's students. State or non-profit agencies
       guarantee the repayment of the GSLs. The Department, in turn, “reinsures” the
       guarantee agencies, meaning that it will pay off a defaulted loan with federal
       funds after specified collection efforts have proven futile.

Id. at 860 (citations omitted). The risk of defaults on student loans is borne not by the

educational institution but by the students and taxpayers, who absorb the cost of any defaults. Id.

       Because the schools receive payment in full, there is little economic incentive for them to

limit student enrollments. This has led to perceived abuses of government funding by some

schools. See generally “Abuses in Federal Student Aid Programs,” Sen. Rep. No. 102-58 (May

17, 1991) (“Senate Report”) (unscrupulous elements have exploited “both the ready availability

of billions of dollars of guaranteed student loans and the weak and inattentive system responsible

for them, leaving hundreds of thousands of students with little or no training, no jobs, and

significant debts that they cannot possibly repay. While those responsible have reaped huge

profits, the American taxpayer has been left to pick up the tab for the billions of dollars in

attendant losses.”); See also Adam J. Williams, Note, “Fixing the “Undue Hardship” Hardship:

Solutions for the Problem of Discharging Educational Loans Through Bankruptcy,” 70 U. Pitt.

L. Rev. 217, 231-32 (2006) (“Currently, over 3,000 schools are considered ‘qualified lenders’

under federal loan programs with little consideration given to the qualifications for eligibility to

the programs. This has created the somewhat undesirable situation in which schools can loan

money to students and be guaranteed repayment by the government, allowing them to increase

tuition at a more rapid pace. They receive the benefit of full payment while the rest of the

population pays the costs of default. For schools, therefore, there is no real risk of default.”).

Accord United States v. ITT Educational Services, Inc., 2012 WL 266943 at *2 (S.D. Ind.

January 30, 2012) (For-profit schools “possess unique characteristics that arguably divorce their

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productivity from their incentives, potentially encouraging behavior that runs afoul of the

HEA.”).

       The Incentive Compensation Ban was originally enacted by Congress in 1992, shortly

after the Senate Report, and remains in place. Specifically, 20 U.S.C. § 1094(a)(20) states: “The

institution will not provide any commission, bonus, or other incentive payment based

directly or indirectly on success in securing enrollments or financial aid to any persons or

entities engaged in any student recruiting or admission activities or in making decisions

regarding the award of student financial assistance. . . .” The Incentive Compensation Ban

was intended to curb the risk that recruiters will “sign up poorly qualified students who will

derive little benefit from the subsidy and may be unable or unwilling to repay federally

guaranteed loans.” United States ex rel. Main v. Oakland City Univ., 426 F.3d 914, 916 (7th Cir.

2005). In United States ex rel. Lopez v. Strayer Educ., Inc., 698 F. Supp.2d 633, 635 (E.D. Va.

2010), the Court commented:

       The underlying concern here is that institutions, motivated by profit rather than a
       legitimate educational purpose, will recruit unqualified students who will then
       find themselves unable to repay these loans, causing a significant loss to the U.S.
       government which: 1) pays the funds directly to the schools on behalf of the
       students; or 2) guarantees other loans and thus is liable in the event of default.
       Thus, the ban on incentive payments and commissions is meant to curb eligible
       schools from recruiting unqualified students simply to fill quotas and turn a profit,
       which ultimately works to the detriment of the U.S. government.

       Plaintiffs contend that EDMC has pursued such an enrollment-maximization strategy,

and had a goal to dramatically increase student enrollment (from 4,500 in 2006 to 50,000 in

2011, Intervenor Complaint ¶ 128(a)). Plaintiffs aver that EDMC accepted all potential students

who completed an application, regardless of their high school grades or the quality of their

written essay. Intervenor Complaint ¶ 106. As pled, the annual federal student aid funds




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received by EDMC increased rapidly, from $656 million in 2003-2004 to $2.578 billion in 2010-

2011. Intervenor Complaint ¶ 73, 80.

       Although Congress enacted the Incentive Compensation Ban to combat perceived abuses

of federal student aid funding, it did not completely outlaw the recruiting of students. Indeed,

schools have a legitimate need to employ persons to recruit students. As the Strayer Educ. Court

noted: “clearly not all compensation violates the Incentive Compensation Ban.” 698 F. Supp.2d

at 635. Moreover, it should be non-controversial to recognize that an employer is entitled to

compensate a productive employee more favorably than a lesser performer. A school may

consider a recruiter’s success at recruiting students and adjust his/her salary based in part on that

success. See 67 Fed. Reg. at 67,053 (HEA not intended to prevent schools from basing salary on

“merit”); Accord United States v. Corinthian Colleges, 655 F.3d 984, 992 (9th Cir. 2011) (“Even

as broadly construed, the HEA does not prohibit any and all employment-related decisions on the

basis of recruitment numbers; it prohibits only a particular type of incentive compensation.”)

       Moreover, the Department of Education has clarified that certain compensation practices

do not violate the Incentive Compensation Ban. In 2002, in response to questions and concerns

from institutions, the Department of Education promulgated a regulation to create “Safe

Harbors.” The Department explained that the Safe Harbors were based on a “purposive reading”

of the HEA, 20 U.S.C. § 1094(a)(20), i.e., that it was enacted “with the purpose of preventing an

institution from providing incentives to its staff to enroll unqualified students.” See 67 Fed.

Reg. 67048-01, 67053-54 (November 1, 2002). The Department further explained that various

payments to ADAs “constituted legitimate business practices that did not support the enrollment

of unqualified students” and, thus, did not violate the Ban. The Department rejected the




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contention that the Safe Harbors would allow unscrupulous institutions to engage in the kinds of

improper recruiting activities that originally gave rise to the Incentive Compensation Ban. Id.

       The “Safe Harbor” regulation2, 34 C.F.R. § 668.14, provided in relevant part as follows:

                (b) By entering into a program participation agreement, an
       institution agrees that—

               (1) It will comply with all statutory provisions of or applicable to Title
                   IV of the HEA, all applicable regulatory provisions prescribed
                   under that statutory authority, and all applicable special
                   arrangements, agreements, and limitations entered into under the
                   authority of statutes applicable to Title IV of the HEA, including
                   the requirement that the institution will use funds it receives under
                   any Title IV, HEA program and any interest or other earnings
                   thereon, solely for the purposes specified in and in accordance
                   with that program;

                          *   *   *

               (22)(i) It will not provide any commission, bonus, or other incentive
               payment based directly or indirectly upon success in securing
               enrollments or financial aid to any person or entity engaged in any
               student recruiting or admission activities or in making decisions
               regarding the awarding of title IV, HEA program funds, except that
               this limitation does not apply to the recruitment of foreign students
               residing in foreign countries who are not eligible to receive title IV,
               HEA program funds.

               (ii) Activities and arrangements that an institution may carry out
               without violating the provisions of paragraph (b)(22)(i) of this section
               include, but are not limited to:

                      (A) The payment of fixed compensation, such as a fixed annual
                      salary or a fixed hourly wage, as long as that compensation is
                      not adjusted up or down more than twice during any twelve
                      month period, and any adjustment is not based solely on the
                      number of students recruited, admitted, enrolled, or awarded
                      financial aid. For this purpose, an increase in fixed
                      compensation resulting from a cost of living increase that is
                      paid to all or substantially all full-time employees is not
                      considered an adjustment.

2 Regulation 668.14 was amended in 2008, 2009 and 2010.       The parties have not raised any
material distinctions between the versions, as applied to this case. In 2011, the Department of
Education again amended § 668.14 to eliminate the “Safe Harbor” effective July 1, 2011.

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        In response to the Incentive Compensation Ban and Safe Harbor, EDMC developed a

corporate policy for ADA compensation, called the Admissions Performance Plan (the “Plan”).

EDMC provided guidelines and training on the Plan to ADAs and managers (Intervenor

Complaint Exh. 4-6, 8). According to its terms, the Plan calculates ADA salaries based on a

number of quantitative and qualitative factors, including the manager’s evaluation of defined

“quality factors” such as job knowledge, business practices and ethics, professionalism, customer

service and initiative; the types and quantity of new students recruited over the previous year

(“new student points”); an adjustment to reflect differences in labor costs in various markets; an

increase for supervising people or projects; and years of service. The “quality points” and “new

student points” are placed into a chart, known as the “matrix,” that sets annualized baseline

salary ranges for ADAs. There are separate provisions for compensation of new ADAs before

they qualify to “go on the matrix.”

        All Plaintiffs assert that the Plan was a sham used to cover up for improper compensation

practices. They contend that, as implemented, EDMC’s “quality factors are nothing more than

window-dressing, used to camouflage a compensation system that, in reality, is driven entirely

by student enrollment numbers.” The Relators and Intervenor States also allege that the Plan, as

written, violates the Incentive Compensation Ban. The United States does not join the “as

written” theory of liability.



Procedural Background

        This case was originally filed in 2007 by Relator Lynntoya Washington, a former ADA at

the Art Institute of Pittsburgh Online Division, pursuant to the federal False Claims Act, 31

U.S.C. § 3730(b)(1), and various state-equivalent false claims acts. The case remained under

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seal for over four years, while the United States evaluated whether or not to intervene. On April

29, 2011, after numerous extensions of time, the United States filed a Notice of its Election to

Intervene in this case. California, Florida, Illinois and Indiana also filed notices of intervention

as of right, pursuant to their respective state-equivalent false claims acts. On May 2, 2011, Ms.

Washington, joined by another relator-plaintiff, Michael Mahoney, a former Director of Training

for EDMC (collectively, the “Relators”), filed a redacted version of their Second Amended

Complaint (Document No. 84) (the “Relator Complaint”).3 The Relator Complaint remains the

operative pleading as to claims on behalf of the non-intervening states of Massachusetts,

Montana, New Jersey, New Mexico, New York and Tennessee.

       On August 8, 2011 the United States, California, Florida, Illinois and Indiana (the

“Intervenors”), filed a 16-count Joint Complaint in Intervention (Document No. 128) (the

“Intervenor Complaint”).4 In addition to claims under the federal and state false claims acts, the

Intervenors assert common law claims for mistake of fact, unjust enrichment, and fraud. On

September 22, 2011, the State of Minnesota intervened pursuant to its state-equivalent false

claims act and filed a separate Complaint (Document No. 141) (the “Minnesota Complaint”).5

On October 27, 2011, the District of Columbia (“D.C.”) intervened pursuant to its false claims




3 The Relator Complaint asserts the following counts: (1) federal False Claims Act; (2) California

False Claims Act; (3) Florida False Claims Act; (4) Illinois False Claims Act; (5) Indiana False
Claims Act; (6) Massachusetts False Claims Act; (7)Minnesota False Claims Act; (8) Montana
False Claims Act; (9) New Jersey False Claims Act; (10) New Mexico Fraud Against Taxpayers
Act; (11) New York False Claims Act; (12) Tennessee False Claims Act; (13) District of Columbia
False Claims Act; and (14) Title VII race discrimination by Washington.
4 The Intevenor Complaint asserts the following counts: (1-3) Federal False Claims Act; (4)

federal Payment by Mistake of Fact; (5) federal unjust enrichment; (6-7) California False Claims
Act; (8) California unjust enrichment; (9-10) Florida False Claims Act; (11) Illinois False Claims
Act; (12) Illinois Payment by Mistake of Fact; (13) Illinois unjust enrichment; (14) Indiana False
Claims Act; (15) Indiana Fraud; and (16) Indiana unjust enrichment.
5 The Minnesota Complaint asserts the following counts: (1) Minnesota False Claims Act; and

(2) unjust enrichment.

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act and filed a separate Complaint (Document No. 155) (the “D.C. Complaint”).6 The Court

denied a motion for permissive intervention filed by the Commonwealth of Kentucky. On

October 5, 2011, the parties entered a Stipulation (Document No. 143) which deferred EDMC’s

response to Counts 6 and 8-14 of the Relator Complaint. Subject to that Stipulation, Defendants

seek dismissal of all four pending complaints.



Standard of Review

       A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) is a challenge

to the legal sufficiency of the complaint filed by Plaintiff. The United States Supreme Court has

held that “[a] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citing

Papasan v. Allain, 478 U.S. 265, 286 (1986)) (alterations in original).

       The Court must accept as true all well-pleaded facts and allegations, and must draw all

reasonable inferences therefrom in favor of the plaintiff. However, as the Supreme Court made

clear in Twombly, the “factual allegations must be enough to raise a right to relief above the

speculative level.” Id. The Supreme Court has subsequently broadened the scope of this

requirement, stating that “only a complaint that states a plausible claim for relief survives a

motion to dismiss.” Ashcroft v. Iqbal, -- U.S. --, 129 S. Ct. 1937, 1950 (2009).

       However, nothing in Twombly or Iqbal has changed the other pleading standards for a

motion to dismiss pursuant to Rule 12(b)(6). That is, the Supreme Court did not impose a new,

heightened pleading requirement, but reaffirmed that Federal Rule of Civil Procedure 8 requires


6 D.C. Complaint asserts the following counts:     (1-2) D.C. False Claims Act; and (3) unjust
enrichment.

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only a short, plain statement of the claim showing that the pleader is entitled to relief, not

“detailed factual allegations.” See Phillips v. County of Allegheny, 515 F.3d 224, 231 (3d Cir.

2008) (citing Twombly, 550 U.S. at 552-53). Additionally, the Supreme Court did not abolish

the Rule 12(b)(6) requirement that “the facts alleged must be taken as true and a complaint may

not be dismissed merely because it appears unlikely that the plaintiff can prove those facts or will

ultimately prevail on the merits.” Id. (citing Twombly, 550 U.S. at 553). As described in Fowler

v. UPMC Shadyside, 578 F.3d 203, 206 (3d Cir. 2009), the Court must first distinguish between

factual allegations and legal conclusions in the complaint and then determine whether the well-

pleaded factual allegations and favorable inferences drawn therefrom show an entitlement to

relief.

          The more-rigorous pleading standard in Fed. R. Civ. P. 9(b) also applies to the False

Claims Act claims because they allege fraud. United States ex rel Wilkins v. United Health

Group, 659 F.3d 295, 301 n.9 (3d Cir. 2011); see also United States ex rel Pilecki-Simko v.

Chubb Institute, 443 Fed. Appx. 754, 759 (3d Cir. 2011) (unpublished) (both Rule 8 and Rule 9

apply). Accordingly, plaintiffs “must state with particularity the circumstances constituting

fraud or mistake.” Id. The imposition of a heightened pleading requirement in fraud actions

serves important objectives: “Rule 9(b)'s heightened pleading standard gives defendants notice of

the claims against them, provides an increased measure of protection for their reputations, and

reduces the number of frivolous suits brought solely to extract settlements.” In re Burlington

Coat Factory Securities Litigation, 114 F.3d 1410, 1418 (3d Cir. 1997). See also Illinois Nat.

Ins. Co. v. Wyndham Worldwide Operations, Inc., 653 F.3d 225, 232-33 (3d Cir. 2011) (“Rule

9(b) exists to insure adequate notice so that defendants can intelligently respond.”).




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       A plaintiff alleging fraud must state the circumstances of the alleged fraud with sufficient

particularity to place the defendant on notice of the “precise misconduct with which [it is]

charged.” Lum v. Bank of America, 361 F.3d 217, 223-224 (3d Cir. 2004) (abrogated on other

grounds by Twombly). To satisfy this standard, the plaintiff must plead or allege the date, time

and place of the alleged fraud or otherwise inject precision or some measure of substantiation

into a fraud allegation. See id. at 224; Frederico v. Home Depot, 507 F.3d 188, 200 (3d Cir.

2007) (same); In re Advanta Corp. Sec. Litig., 180 F.3d 525, 534 (3d Cir. 1999) (noting that

plaintiffs averring securities fraud claims must specify “the who, what, when, where, and how:

the first paragraph of any newspaper story.”).

       “Malice, intent, knowledge, and other conditions of a person’s mind may be alleged

generally.” Fed. R. Civ. P. 9(b). The Supreme Court has explained that “generally” is a relative

term: “In the context of Rule 9, it is to be compared to the particularity requirement applicable

to fraud or mistake. Rule 9 merely excuses a party from pleading discriminatory intent under an

elevated pleading standard. It does not give him license to evade the less rigid—though still

operative—strictures of Rule 8.” Iqbal, 129 S. Ct. at 1954; But see Morganroth & Morganroth

v. Norris, McLaughlin & Marcus, P.C., 331 F.3d 406, 414 n.2 (3d Cir. 2003) (“The purpose of

Rule 9(b) is to provide notice, not to test the factual allegations of the claim.”)

       Moreover, in Craftmatic Securities Litigation v. Kraftsow, 890 F.2d 628 (3d Cir. 1989),

the Court of Appeals explained that Rule 9 must be applied flexibly to alleged corporate fraud:

       Courts must be sensitive to the fact that application of Rule 9(b) prior to discovery
       “may permit sophisticated defrauders to successfully conceal the details of their
       fraud.” Particularly in cases of corporate fraud, plaintiffs cannot be expected to
       have personal knowledge of the details of corporate internal affairs. Thus, courts
       have relaxed the rule when factual information is peculiarly within the defendant's
       knowledge or control. We agree that rigid enforcement in such circumstances
       could permit “sophisticated defrauders” to avoid liability. Nonetheless, even
       under a non-restrictive application of the rule, pleaders must allege that the

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       necessary information lies within defendants' control, and their allegations must
       be accompanied by a statement of the facts upon which the allegations are based.

Id. at 645 (citations omitted).



Legal Analysis

       Except for the claims subject to the parties’ stipulation, EDMC moves for complete

dismissal of all of the Complaints filed in this case pursuant to Fed. R. Civ. P. 12(b)(6) and

moves to strike certain averments pursuant to Fed. R. Civ. P. 12(f). 7 EDMC advances the

following primary arguments: (1) the Compensation Plan, as written, complies with the Safe

Harbor; (2) Plaintiffs failed to adequately plead the details of the alleged fraud to satisfy all the

elements a prima facie case under the False Claims Act in support of the “as implemented”

theory; (3) the Incentive Compensation Ban was a condition of participation, rather than a

condition of payment, and therefore, the appropriate avenue for relief is regulatory enforcement

and not the False Claims Act; (4) federal common-law claims are displaced by the complex

regulatory regime created by Congress and the Department of Education to enforce the HEA; (5)

the governments have received the benefit of their bargain, i.e., the education of students; (6) the

state law pleadings fail for similar reasons; and (7) Mahoney’s claims should be dismissed

because he is a “second filed” relator. In a separate motion and brief, EDMC contends that the

Complaint filed by D.C. is untimely. These contentions will be addressed seriatim.




7 EDMC also cited Rule 12(b)(1) but has not pursued a jurisdictional challenge, except

tangentially as to the claims of Relator Mahoney based on the “first filed” bar. The Court is
satisfied that it may exercise subject-matter jurisdiction over this case pursuant to 28 U.S.C.§§
1331 and 1345, as it involves a federal statute and the United States is a party.

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      I.      Federal False Claims Act Theories

       The False Claims Act enables the government to recover losses it has incurred as a result

of fraud. ITT Educational, 2012 WL 266943 at * 1. Its roots can be traced to the Civil War,

when it was enacted in response to contractors who sold faulty weaponry, rancid food and

unseaworthy ships to the government. Id. Because it would be difficult for the government to

discover and prosecute all potential violations, the False Claims Act “provides a qui tam

enforcement mechanism, which allows a private party (i.e., a relator) to bring a lawsuit on behalf

of the government and against an entity to recover money the government paid as a result of

fraudulent claims.” Id. As an incentive, relators are entitled to keep a percentage of the proceeds

from any judgment or settlement in their cases. See 31 U.S.C. § 3730(d)(1) and (2). On the other

hand, the statute contains mechanisms to minimize baseless suits brought by opportunistic

relators. Id. The United States is entitled to intervene to prosecute the claim(s) on its own

behalf, as has occurred in this case. The state law False Claims Acts are similarly structured.

       Count I of the Relator Complaint asserts a claim under the federal False Claims Act.

Count I of the Intervenor Complaint is based on a violation of the False Claims Act, 31 U.S.C. §

3729(a)(1), which was in effect from July 1, 2003 to May 20, 2009.8 Counts II and III are based

on the False Claims Act, as amended by the Fraud Enforcement and Recovery Act of 2009

(“FERA”), enacted at 31 U.S.C. §§ 3729(a)(1)(A) and (a)(1)(B), respectively.9 The parties have




8The 2003-2009 version of the False Claims Act provided, in relevant part: “(a) Liability for

certain acts.—Any person who— (1) knowingly presents, or causes to be presented, to an officer
or employee of the United States Government or a member of the Armed Forces of the United
States a false or fraudulent claim for payment or approval;”
9The 2009 amendment to § 3729 provides, in relevant part:

“(a) Liability for certain acts.-- (1) In general.--Subject to paragraph (2), any person who-- (A)
knowingly presents, or causes to be presented, a false or fraudulent claim for payment or
approval; [or] (B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim;”

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not pointed to substantive differences between the versions of the statute. 10 Under each version,

the elements of a prima facie case under the federal False Claims Act are: (1) the defendant

presented a false or fraudulent claim against the United States; (2) the claim was presented to an

agency or contractor of the United States; and (3) the defendant knew the claim was false or

fraudulent. See Wilkins, 659 F.3d at 305; United States v. Thayer, 201 F.3d 214, 222–23 (3d Cir.

1999).

         Although it is not apparent from the claims asserted in the Complaints, the Relators and

Intervening States pursue two distinct theories of fraud under the False Claims Act: (1) that

EDMC’s written ADA compensation plan violates the Incentive Compensation Ban “as

designed”; and (2) that EDMC has used the written compensation plan as a “sham” or coverup

for its actual implementation of a compensation system based solely on quantitative factors,

thereby violating the Incentive Compensation Ban. The United States joins only in the “as

implemented” theory.



         A. EDMC’s Compensation Plan “As Written”

         The Relators and Intervenor States contend that the EDMC Compensation Plan, as

written, violates the Incentive Compensation Ban for the following reasons: (1) the essence of

EDMC’s plan does not provide “fixed compensation” because ADA compensation varies with

the number of students recruited and ADAs are not paid a “fixed compensation,” “fixed annual

salary” or “fixed hourly wage” as defined in the Safe Harbor; (2) the Plan violates the adjustment

clause of the Safe Harbor regulation because it provides for payments which are revised every


10 Notably, however, FERA contains a limited retroactivity provision, which provides that §

3729(a)(1)(B) took effect as if enacted on June 7, 2008 and is applicable to all claims pending
on or after that date. Wilkins, 659 F.3d at 303-04. Thus, Count 3 must be limited to claims
pending on or after June 7, 2008.

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six months to reflect accumulated incentive payments; (3) any adjustments to ADA

compensation are based “solely” on the number of students recruited; and (4) initial eligibility to

go “on the matrix” is based solely on enrollment numbers. More broadly, the Relators and

Intervenor States point to the HEA statutory language, which provides that institutions will not

provide incentive payments based “directly or indirectly on success in securing enrollments.” 20

U.S.C. § 1094(a)(20) (emphasis added), and reason that the Safe Harbor regulation must be

interpreted consistent with this statutory command. Plaintiffs theorize that even though ADA

pay is labeled as “salary,” in actuality the EDMC Plan indirectly pays commissions which are

doled out in equal increments over the following six months to make them appear to be salary.

       EDMC contends that the Plan, on its face, falls squarely within the regulatory Safe

Harbor. EDMC argues that the Plan provides for a “fixed annual salary” for ADAs; that ADA

compensation is adjusted no more than twice per year; and that adjustments cannot be based

“solely” on the number of students enrolled because they are determined pursuant to a matrix

which also contains qualitative factors. EDMC refers to the Plan’s discussion of various

“quality factors,” such as job knowledge, business practices and ethics, professionalism,

customer service and initiative. By virtue of the matrix structure, EDMC contends that it is

impossible to determine an ADAs salary without considering these quality factors. EDMC

points out that an ADA’s initial salary, by definition, cannot be based on enrollment figures. In

addition, EDMC maintains that its compliance with the Safe Harbor negates the scienter required

to make out a prima facie case under the False Claims Act.

       As an initial matter, the Court is not convinced by the Relators and Intervenor States’

broad theory that the Safe Harbor regulation violates the HEA by permitting “indirect” incentive

payments. The Department of Education, in promulgating the regulation, specifically explained



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that the Safe Harbors create “conditions under which an institution may make an incentive

payment to an individual or entity that could be construed as based upon securing enrollments.”

67 Fed. Reg. at 67054. Thus, the Department of Education has clearly determined that some

incentive payments, i.e., those not based solely on enrollment numbers, are consistent with the

statutory language of the HEA. The Safe Harbor regulation was developed pursuant to “notice

and comment” rulemaking and the Department has broad authority to enforce and interpret the

HEA, such that the Court is constrained to give deference to the agency’s interpretation.

Compare De La Mota v. Department of Education, 412 F.3d 71 (2d Cir. 2005).

       Moreover, the actual text of the Safe Harbor regulation favors EDMC. ADA salaries

were “fixed” under the Plan, as defined in 34 C.F.R. § 668.14(b)(22)(ii)(A), as each bi-weekly

payment to be received by an ADA during the six-month period until the next adjustment was for

the same amount. The Court cannot accept Plaintiffs’ effort to interpret the term “fixed” to mean

only an “hourly” wage based upon “actual time worked.” To the contrary, the regulation

distinguishes a “fixed annual salary” from a “fixed hourly wage” and deems both to be

permissible. A salary decoupled from hours worked – even if calculated partially on past

Student Start points – is “fixed” compensation. See, e.g., Merriam-Webster.com (defining

“salary” as “fixed compensation paid regularly for services”).

       Plaintiffs attempt to conflate the terms “salary” and “sales commission.” The terms are

not synonymous. Under a “sales commission” plan, an employee would not be paid anything

unless he/she completed a sale. See Parker v. NutriSystem, Inc., 620 F.3d 274, 281, 284 (3d Cir.

2010). A “sales commission,” applied to the circumstances of this case, would pay ADAs only

if/when they recruited students. Under the Plan as written, ADAs are paid a “fixed salary,” not a

“commission.”



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       It is undisputed that “adjustments” were not made more than twice during any twelve

month period. Moreover, by its very nature, the matrix used to determine and adjust

compensation cannot be based “solely” on quantity. Instead, the compensation generated by the

matrix can only be derived by combining the quantitative factor on one axis with the “quality

factors” on the other axis. In other words, the use of the matrix, by definition, could not have

adjusted compensation solely on recruitment numbers.

       Plaintiffs also challenge the initial eligibility to go “on the matrix” because it is triggered

by recruiting numbers. According to the written Plan, however, New Hire Starting Salaries for

ADAs are based on “their relevant experience and education.” Indeed, at that point no students

have yet been recruited. The First Evaluation, after six months, is based on quality factors. The

Second Evaluation awards ADAs the higher salary as determined under the matrix or under

quality factors alone. At the Third Evaluation, all ADAs are reviewed under the matrix. Thus, at

no time does the Plan, as written, pay ADAs a commission based solely on enrollments.

       Moreover, even assuming arguendo that the Plan “as written” violates the Incentive

Compensation Ban, scienter has not been adequately pled to support a False Claims Act theory.

In United States v. Chubb Institute, 2010 WL 1076228 (D.N.J. 2010) (“Chubb I”), the Court

explained: “Although the language of the safe harbor provision appears at odds with the

Incentive Compensation Ban, it stands to reason that an institution adhering to a federal

regulation defining the contours of permissible compensation under the Incentive Compensation

Ban cannot have the requisite scienter to violate the ban.” Id. at *10 (citations omitted). This

reasoning is persuasive. Similarly, because the Department of Education advised schools in 1995

that paying travel and related expenses for ADAs to attend sales meetings would not violate the

Incentive Compensation Ban, see EDMC Exh. 11, Plaintiffs have failed to establish the scienter



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element as to EDMC’s use of prizes and trips such as the President’s Club. In addition, the

Complaints fail to meet the Rule 9(b) pleading standard for the “as written” theory, as there are

no particularized allegations as to who, what, where, when, why and how the Plan was designed.

       In summary, Plaintiffs have failed to plead a plausible False Claims Act cause of action

based on the Compensation Plan “as written.” As noted above, however, because the “as

written” theory is not asserted as a separate cause of action, this conclusion does not result in

dismissal of any of the separate counts asserted in the Complaints.



       B. EDMC’s Compensation Plan “As Implemented”

       Plaintiffs’ primary contention is that EDMC failed to implement its Plan in accordance

with the HEA. As an initial matter, it is important to recognize the stark differences between the

“as written” and “as implemented” theories. Under the “as implemented” theory, Plaintiffs do

not allege an honest misinterpretation of the governing statute and regulations. Rather, Plaintiffs

allege a knowing decision by EDMC executives to perpetuate a company-wide “sham” Plan to

cover up for prohibited compensation practices. To put it starkly, Plaintiffs allege a coordinated,

multi-billion dollar corporate-wide fraud.

       More specifically, Plaintiffs allege that EDMC has violated the Incentive Compensation

Ban from July 1, 2003 through the present because: (1) ADA compensation and advancement is

exclusively focused on the number of new students an ADA is able to recruit; (2) EDMC has

created a culture that has made recruiting and enrolling new students the sole focus of its

compensation system; and (3) EDMC’s practices result in payment of commissions, bonuses and

other incentive payments such as “President’s Club” trips and “Circle of Achievement” awards,

which are based solely on the number of students being enrolled. Plaintiffs allege that the



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metrics used to measure an ADA’s performance, such as the Student Start Plan, “Plan to Make

Plan” and other tracking documents, focus solely on the number of students enrolled. Plaintiffs

also allege that ADAs are terminated from their employment or placed on “performance

improvement plans” solely due to enrollment numbers. Plaintiffs recognize that EDMC’s

written compensation policy contains a “matrix” which combines student enrollment numbers

with a variety of “quality factors.” However, they argue that the “quality factors” have no real

impact on the manner in which EDMC’s compensation system is actually implemented.

       EDMC argues that Plaintiffs’ claims are precluded as a matter of law based on the

exhibits attached to the Complaint and/or because the conduct in question was based on a

reasonable interpretation of the Safe Harbor. See, e.g., Sur-Sur-Reply at 9. This argument

fundamentally contradicts Plaintiffs’ “as implemented” theory of the case, which is that even if

the paperwork looked correct on its face, such paperwork was only a pretext or cover-up and did

not reflect EDMC’s real compensation practices.

       Whether EDMC actually implemented the Plan in accordance with the Safe Harbor

cannot be resolved based on the status of the current record. As explained in Corinthian

Colleges, 655 F.3d at 993-94 (reversing district court’s decision to dismiss case on the ground

that similar recruiter compensation program fell within Safe Harbor):

       The mere inclusion of this performance rating in Corinthian's Compensation
       Program, however, does not allow us to conclusively determine whether its
       method of awarding salary increases falls within the Safe Harbor Provision. At
       this stage, we have no information as to the basis on which a “Good” versus
       “Excellent” performance rating is assigned to a Corinthian recruiter. Without an
       understanding what an employee must do to achieve a rating of “Good,” we
       cannot determine whether the rating is based upon substantive requirements that
       are separate and distinct from recruitment numbers.

Indeed, the Corinthian Court expressly stated that relators might be able to state a valid claim

based on “Corinthian’s implementation of its policy, rather than the written policy itself.” Id. at

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996. The same analysis applies in this case. Even though the Plan, on its face, appears to

comply with the Safe Harbor, at this stage of the case the Court cannot determine whether or not,

in actuality, the “quality factors” were used merely as a proxy for recruiting success.

       Two other United States Courts of Appeals have held that similar “as implemented”

claims for alleged violations of the Incentive Compensation Ban are cognizable. In Main, 426

F.3d at 914 (reversing district court’s grant of motion to dismiss), the Seventh Circuit explained

that at the pleading stage, courts were required to accept allegations in the Complaint that the

school knew of the Incentive Compensation Ban; lied to the Department of Education about its

compliance to obtain eligibility; and that all subsequent disbursements depended on that

eligibility. Similarly, in United States ex rel Hendow v. University of Phoenix, 461 F.3d 1166

(9th Cir. 2006) (reversing grant of motion to dismiss), the Ninth Circuit stated that an alleged

violation of the Incentive Compensation Ban created an “axiomatic fit” with the False Claims

Act statute. In short, on three recent occasions the Courts of Appeals have reversed the granting

of motions to dismiss and have recognized False Claims Act claims for very similar alleged

violations of the Incentive Compensation Ban “as implemented.”

       EDMC acknowledges Plaintiffs’ theory that the written Compensation Plan constitutes

only a window-dressing or camouflage. Nevertheless, EDMC argues that Plaintiffs have failed

to plead fraud with the particularity required by Fed. R. Civ. P. 9. Specifically, EDMC argues

that Plaintiffs have not pled sufficient facts to show how it based ADA compensation solely on

enrollments; how it presented false claims; how its representations were false, i.e., how the

matrix was disregarded or details supporting the theory that quality factors were merely a sham.

EDMC points to Lynntoya Washington’s own Performance Review (Exh. 22), which appears to

show that the quality factors were taken into account. EDMC further notes that the Relators



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have limited knowledge. For example, there are no allegations regarding conduct prior to June

2004 or after June 2007. In addition, neither Washington nor Mahoney had responsibility for

evaluating ADAs or making compensation decisions or had access to the factors actually used to

pay ADAs. EDMC points out that the Relators did not work at each individual school named as

a Defendant nor did they participate in the certifications made to the governments. EDMC also

contends that Plaintiffs have failed to identify the conduct of each separately named Defendant.11

Moreover, EDMC argues that the Complaints fail to adequately plead the scienter element in that

the Complaint fails to allege facts regarding EDMC’s knowledge at the time the Plan was drafted

and implemented and does not link the persons who signed the PPA’s and/or certifications to the

alleged compensation violations. In particular, EDMC points out that Plaintiffs cannot rely on

the knowledge possessed by former University of Phoenix executives who later went to work for

EDMC because they did not join EDMC until 2007 (four years after the alleged fraud began).

Plaintiffs recognize that the more rigorous Rule 9 standard of pleading applies to the False

Claims Act claims and contend that they have nonetheless stated valid claims.

        EDMC also raises several legal and analytical challenges. Inter alia, EDMC suggests that

the government knew of its Plan and took no enforcement action for four years, such that it is

unable to prove that EDMC’s actions have caused any injury. EDMC also contends that

compliance with the Incentive Compensation Ban is a condition of participation, rather than a

condition of payment. In essence, EDMC analogizes the Incentive Compensation Ban to

Medicare regulatory fineprint, the non-compliance with which may warrant a slap on the wrist

from the Department of Education but cannot justify massive liability under the False Claims

Act. The Court turns now to these contentions.


11 For example, EDMC alleges that at least fifteen schools did not exist or were not part of EDMC during the 2003-

2009 timeframe.

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                       1. Falsity

       Plaintiffs contend that the falsity element of the prima facie case is established under

several different theories. In Wilkins, the Court of Appeals for the Third Circuit held that a False

Claims Act cause of action may be based on actions that are: (1) “factually false”; or (2) “legally

false.” 659 F.3d at 305. A claim is “factually false” when the claimant misrepresents the goods

or services that it provided to the Government. Id. A claim is “legally false” when the claimant

knowingly falsely certifies that it has complied with a statute or regulation, the compliance with

which is a condition of Government payment. Id. There are two types of “legally false” claims.

Under the “express false certification” theory, an entity is liable under the FCA for falsely

certifying that it is in compliance with regulations which are prerequisites to Government

payment in connection with the claim for payment of federal funds. Id. Under the broader

“implied false certification” theory adopted in Wilkins, liability attaches when a claimant seeks

and makes a claim for payment from the Government without disclosing that it has violated

regulations that affect its eligibility for payment. Id. As the Wilkins Court explained: “Thus, an

implied false certification theory of liability is premised on the notion that the act of submitting a

claim for reimbursement itself implies compliance with governing federal rules that are a

precondition to payment.” Id. (citation omitted). Several courts have also recognized False

Claims Act liability for violations of the Incentive Compensation Ban under a fourth theory,

namely fraudulent inducement. See Hendow, 461 F.3d at 1173-74.

       Plaintiffs contend that they have satisified each theory. As to “factual falsity,” they argue

that the service to be provided was education of students by an institution that complied with the

Incentive Compensation Ban. As to “express false certification,” Plaintiffs point to EDMC’s

statements in the PPA and periodic audits regarding its compliance with the Incentive



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Compensation Ban. Under the “implied false certification” theory, Plaintiffs point to each and

every request for payment by EDMC, made while knowing that the “quality factor” ratings were

a sham. Finally, under the fraudulent inducement theory, Plaintiffs reason that EDMC’s promise

that it would comply with the Incentive Compensation Ban induced the government to grant

EDMC eligibility to participate in the program. The Complaint adequately avers the

representations, express and implied, which were involved in the obtaining of student aid

funding from the governments by EDMC.

       In support of the “falsity” element, Plaintiffs have alleged that “quality factors” were

nothing more than “window dressing” and were not actually used to determine ADA

compensation. The Complaint provides some specific factual details in support of the allegation.

For example, the Complaint alleges that EDMC did not measure, encourage or incentivize ADAs

with respect to quality factors. ¶ 120-126. This is in stark contrast to EDMC’s detailed tracking

of ADA student enrollment numbers. Relator Mahoney, whose duties included training of

ADAs, averred that he never provided training on the Incentive Compensation Ban. Similarly,

the Complaint avers “Mahoney never gave any training whatsoever regarding the ‘quality

factors’” or even heard anyone discuss them. ¶ 136. EDMC contends that Mahoney had limited

knowledge of actual ADA compensation practices. Nevertheless, viewing the allegation in the

light most favorable to Plaintiffs, it supports their contention that “quality factors” were ignored,

in actuality. Plaintiffs also aver that Jan Anton, a Vice President of the Art Institute of Chicago

and a member of the committee that designed the Plan, told an ADA that “quality factors were

insignificant relative to ADA payments and were created for the purpose of getting around the

Incentive Compensation Ban.” ¶ 389. As another example, Plaintiffs aver that Stephen Weiss,

then President of Online Higher Education, told relator Washington that “because she had met



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her student enrollment numbers, her ‘quality factor’ rating would have no effect whatsoever on

her compensation.” ¶ 138. EDMC contends that the context of this statement reveals that

Washington’s quality rating had changed by only one point. However, the Court must read this

allegation in the light most favorable to Plaintiffs. In Washington’s experience, the only

significant change in her “quality factor” rating corresponded to a significant increase in her

student starts. Thus, the allegations regarding Washington support the inference that quality

factors were not independent, but were used merely as a proxy for recruiting success. See

generally ¶ 154 (describing how the quality factors were ignored in practice).

       These allegations are more than sufficient to make it plausible that EDMC’s ADA

compensation, as implemented, was violative of the Incentive Compensation Ban. Plaintiffs are

attempting to “prove a negative”—i.e., that the quality factors were not used. It is difficult to

plead such a theory with a great degree of particularity, but Plaintiffs have provided a sufficient

level of detail. In sum, the Court concludes that the “falsity” element of a False Claims Act

prima facie case has been met.



                       2. Scienter

       EDMC contends that Plaintiffs have failed to adequately plead scienter, for several

reasons. First, EDMC contends that Plaintiffs must establish the wrongful scienter of a particular

employee as opposed to the “collective knowledge” of the entire corporation. Second, EDMC

contends that scienter must be pled with specificity as to every school named as a Defendant.

EDMC also contends that its liability cannot be based on the 2004 Department of Education

enforcement proceeding against the University of Phoenix for an alleged violation of the

Incentive Compensation Ban. EDMC suggests that the government’s knowledge and



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acquiescence to its Plan – as evidenced by continued student aid payments – negates EDMC’s

scienter.

        Plaintiffs have responded to each of these arguments. They point out that scienter may be

alleged generally, and need not meet the particularity standard in Rule 9(b). Plaintiffs note that

the “single actor” theory of corporate liability has been rejected. Plaintiffs argue that there is no

need to detail the conduct of each school because Defendants are related corporate entities and

implementation of the alleged fraudulent ADA compensation plan was done top-down,

company-wide. As to the University of Phoenix, Plaintiffs contend not only that the former

executives’ knowledge is attributable to EDMC after they were hired by EDMC, but also that the

Department of Education’s position was known by EDMC in 2004. Plaintiffs argue that

EDMC’s arguments regarding the government’s knowledge and acquiescense are premature

because they depend on facts outside of the pleadings. Plaintiffs dispute that EDMC

implemented its Plan reasonably and deny that the government was aware of the alleged fraud.

        The False Claims Act requires a defendant to have acted “knowing” or “knowingly.” It

defines these terms to mean: (A) [ ] that a person, with respect to information— (i) has actual

knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity of the

information; or (iii) acts in reckless disregard of the truth or falsity of the information; and (B)

require no proof of specific intent to defraud. 31 U.S.C. § 3729(b)(1). The Court concludes that

this element has been adequately pled.

        As an initial matter, the Court is not persuaded by EDMC’s arguments with respect to the

standards governing corporate scienter. The Court does agree with EDMC that scienter may not

be based on a “collective knowledge” theory “by piecing together scraps of ‘innocent’

knowledge held by various corporate officials, even if those officials never had contact with each



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other or knew what others were doing in connection with a claim seeking government funds.”

United States v. Science Applications Intl. Corp., 626 F.3d 1257, 1275 (D.C. Cir. 2010).

However, the Complaints in this case do not attempt to establish scienter based on collective,

innocent knowledge. Moreover, the Science Applications Court recognized that the definition of

“knowingly” in the False Claims Act was intended “to capture the ostrich-like conduct which can

occur in large corporations where corporate officers insulate themselves from knowledge of false

claims submitted by lower-level subordinates.” Id. at 1274 (citation and punctuation omitted).

       EDMC’s reliance on Zavolta v. Lord, Abbett & Co. LLC, 2010 WL 686546 (D.N.J.

2010), for the proposition that the individual corporate officer making the statement must have

the requisite scienter is misplaced. Zavolta involved a claim brought under the Public Securities

Litigation Reform Act, 15 U.S.C. § 74u-4 et seq., which “changed [the] standard in regard to

inferences involving factual allegations relating to scienter in securities law cases.” Id. at *6.

Indeed, in United States ex rel. Harrison v. Westinghouse Savannah River Co., 352 F.3d 908,

919 (4th Cir. 2003), the Court rejected a “single actor” theory similar to that proposed by EDMC

in the False Claims Act context. EDMC’s reliance on Long v. Tommy Hilfiger, 2012 WL

180874 (3d Cir. January 24, 2012), and United States ex rel. Hefner v. Hackensack University

Medical Center, 495 F.3d 103, 109 (3d Cir. 2007), is also misplaced. Long is legally

distinguishable because it involved a different statute, the Fair and Accurate Credit Transactions

Act (“FACTA”), which imposed a threshold scienter requirement of “willfulness” which

required a plaintiff to plead “objective unreasonableness.” 2012 WL 180874 at *4-5. No such

requirement exists in the False Claims Act. Moreover, even though the scienter issue was

resolved at the motion to dismiss stage in Long based on a reasonable interpretation of the

statute, such resolution is not possible here as Plaintiffs allege that EDMC knowingly schemed to



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evade the Safe Harbor. Hackensack University is factually distinguishable because it involved a

billing error that had “slipped through the cracks,” an employee caught the error and notified

staff, and they “rectified the problem.” 495 F.3d at 103. That is far different than the

widespread, long-lasting corporate practice alleged in this case.

       Plaintiffs allege that EDMC corporate headquarters signed and submitted the PPA’s on

behalf of all of its related educational institutions. In December 2006, John R. McKernan, Jr.,

then Chairman and CEO of EDMC, signed all PPA’s for EDMC schools. Beginning in 2009, the

Presidents of Brown Mackie, Argosy University, South University and the regional clusters of

Art Institutes signed the PPAs. Complaint ¶¶ 65, 66. In addition, Plaintiffs aver that the

compensation plan was developed by an EDMC-wide task force. ¶ 370. Because government

funding represented such a significant source of EDMC’s revenues, it is plausible that any

conduct which would have imperiled those revenues, such as the alleged violations of the

Incentive Compensation Ban, would have required approval from the highest levels of EDMC

management. In sum, Plaintiffs have pled the involvement and knowledge of senior EDMC

executives. Because Plaintiffs’ theory is that there was one, EDMC-wide scheme controlled by

top-level executives, it is not necessary to allege separate conduct by each of the affiliated

schools named as Defendants.

       Pursuant to Fed. R. Civ. P. 9(b), scienter may be pled “generally.” In numerous

paragraphs, Plaintiffs have alleged that EDMC acted “knowingly.” The Complaint also contains

specific examples that make the allegation plausible. For example, in ¶ 147 Plaintiffs allege that

EDMC offices usually display posters and charts which graph ADA performance on quantitative

factors. However, if an audit or accreditation is scheduled such materials are removed from view

– to be put back up after the auditors or accreditors had departed. One plausible inference is that



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EDMC knew that such materials (and the compensation practices they represented) were

improper. As another example, a member of the team that developed the Plan allegedly advised

an ADA “that quality factors were insignificant relative to ADA payments and were created for

the purpose of getting around the Incentive Compensation Ban.” ¶¶ 370, 389. This allegation

supports not only the “falsity” element, but also that EDMC acted with scienter. In addition, a

scienter element is implicit in the allegations that the “quality factors” were a sham or a cover up.

       EDMC relies extensively on Chubb I, 2010 WL 1076228 (D.N.J. Mar. 22, 2010), aff’d,

2011 WL 3890975 (3d Cir. Sept. 6, 2011) (“Chubb II”), for the proposition that Plaintiffs have

failed to adequately plead scienter because “[n]owhere do Plaintiffs allege how EDMC

documented or openly bragged about its fraud; was informed that managers were calculating

recruiters’ salaries based solely on enrollments; or maintained an established infrastructure to

defraud the government.” Defendants’ Reply Br. at 33. In Chubb, the plaintiffs supported their

alleged violation of the Incentive Compensation Ban only by attaching Chubb’s compensation

plan “as written.” 2010 WL 1076228 at *9. The Court commented: “Conspicuously absent

from the SAC is any indication, other than Relators' ipse dixit, that TCI had notice that its

submissions contained erroneous data, let alone that they intended to use erroneous data for the

purpose of defrauding the Government.” 2010 WL 1076228 at * 8. Because the Court found

that the written plan complied with the Safe Harbor, it dismissed the claim. Id. at *10. Indeed,

the plan at issue in Chubb contained concrete, merit-based metrics to measure qualitative factors

such as student retention, records-keeping and professionalism. By contrast, Plaintiffs allege that

EDMC used no such metrics for quality factors.

       In dismissing the claim, the Chubb Court explained that Plaintiffs could have prevailed

by pleading “examples of other prohibited compensation practices not covered by the safe



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harbor” or “circumstantial facts enabling the inference that [defendant] acted with scienter by

falsely certifying compliance with Title IV’s incentive compensation ban.” Id. In denying the

plaintiffs’ motion for reconsideration, the Court further elaborated on the sort of “red flags” that

could have established a cognizable claim. 2010 WL 3463307 at *3-6. In an unpublished

opinion, the Court of Appeals for the Third Circuit affirmed. It compared the absence of

allegations regarding Chubb’s scienter with the claim in Hendow, in which the relators “allege[d]

that University staff openly bragged about perpetrating a fraud, that the University had an

established infrastructure to deceive the government, and that the University repeatedly changed

its policies to hide its fraud.” See Chubb II, 2011 WL 3890975 at *5 n.18 (citing Hendow, 461

F.3d at 1175). In this case, Plaintiffs have alleged numerous “red flags” of the sort envisioned by

the court in Chubb. To be sure, these allegations are not as strong as those in Hendow. On the

other hand, the allegations in this case are more substantial than those at issue in Chubb.

         Defendants rely on Gaer v. Education Management Corporation, 2011 WL 7277578

(W.D. Pa. Sept. 29, 2011) for the proposition that the “as implemented” claims must be

dismissed due to the relators’ limited knowledge of the relevant details of EDMC’s

compensation practices and their failure to sufficiently establish their credibility. Gaer is

distinguishable because it involved claims of stock price manipulation under the securities

laws.12 Moreover, because the allegations that EDMC’s Plan was a sham were made only by a

confidential witness (CW1), the Court applied a heightened pleading standard, which “requires

confidential witnesses to provide some indicia of their reliability.” Id. at 25-26 (citing California

Public Employees Retirement Sys. v. Chubb, 394 F.3d, 126 146-47 (3d Cir. 2004)). No



12
  Although Plaintiffs are correct that Gaer applied the more rigorous scienter requirement of the Private Securities
Litigation Reform Act of 1995 (“PSLRA”), it did not do so in the portion of the opinion which discussed the
Incentive Compensation Ban.

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heightened standard applies to the relators’ statements in this case, as their identities are not

confidential.

         Nor do EDMC’s arguments regarding the University of Phoenix warrant dismissal. The

Complaint alleges that in a February 5, 2004 Program Review Report, the Department of

Education found that the University of Phoenix compensation system “was an illegal attempt to

circumvent Title IV of the HEA’s prohibition on incentive compensation.” Complaint ¶ 159.

The Court recognizes that the former University of Phoenix executives did not become

employees of EDMC until 2007 and their knowledge cannot be imputed to EDMC prior to their

employment. However, the Complaint further alleges that the Department of Education’s

enforcement actions against the University of Phoenix were well-known in 2004 throughout the

for-profit higher education industry.13 Complaint ¶ 160. Construed in the light most favorable to

Plaintiffs, the allegations support the inference that EDMC knew that its Plan was similar to that

used by University of Phoenix, and therefore was improper. Accordingly, one may infer that

EDMC’s alleged continued implementation of a similar compensation system was done

knowingly.

         EDMC ‘s remaining scienter arguments require only cursory discussion. The Court has

explained above why EDMC’s alleged “reasonable” interpretation of the Safe Harbor does not

merit dismissal of the “as implemented” theory at this juncture. To the extent that EDMC is

contending that the government waived its right to enforce the HEA and/or acquiesced to

EDMC’s alleged violation of the Incentive Compensation Ban, such contentions would be

affirmative defenses on which EDMC bears the burden of proof. See, e.g. United States ex rel.


13 As explained in Southern Track & Pump, Inc. v. Terex Corp., 722 F. Supp.2d 509, 519 (D. Del. 2010), the

particularity required with respect to “time” is flexible because the purpose of Rule 9(b) is to provide notice of the
claims to defendants. Plaintiffs have sufficiently provided EDMC with the dates of the alleged fraud at this stage of
the case.

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Monahan v. Robert Wood Johnson University Hosp. at Hamilton, 2009 WL 4576097 at *7

(D.N.J. 2009). Moreover, the governments deny knowing that EDMC implemented the Plan in

violation of the Incentive Compensation Ban. At this stage, the Court must resolve the dispute in

favor of Plaintiffs.

        In sum, the Court concludes that the scienter allegations satisfy the applicable pleading

standard. It will be incumbent upon Plaintiffs to prove that EDMC acted with the requisite

scienter, but dismissal is not warranted at this stage of the case.



                       3. Causation of Economic Loss

        EDMC argues that the Complaint fails to allege that its ADA compensation practices

caused an economic injury to the government. Citing United States v. Hibbs, 568 F.2d 347, 349

(3d Cir. 1977), EDMC argues that a causal connection must be shown between the loss and

fraudulent conduct, i.e., that the falsity caused a loss that the government would not have

otherwise incurred. EDMC points out that Plaintiffs have continued to pay EDMC for at least

four years after knowing of the alleged violation. In addition, EDMC points to other gaps in the

Complaint: no identification of ADAs who recruited unqualified students as a result of incentive

compensation; no identification of students who would otherwise not have enrolled (and received

financial aid) at other schools; and no identification of students who have defaulted on

improperly obtained loans. In essence, EDMC reasons that the government received the benefit

of its bargain because the students received an education. EDMC cites to a Department of

Education memo dated October 30, 2002 (Defendants Exhibit 8), which stated that a violation of

the Incentive Compensation Ban does not result in a monetary loss to the Department or prevent

the student from receiving student aid funds.



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         Plaintiffs contend that they need not allege a specific injury or trace a particular loss in

order to recover under the False Claims Act. Rather, their theory is that the loss stems from the

fact that the government funded billions of dollars in student aid payments to EDMC which it

was not entitled to receive. Plaintiffs further note that in Main, the Court held that the 2002

Department of Education memo cited by EDMC has “no legal effect.” 426 F.3d at 917.

         As an initial matter, the Court does not agree that a plaintiff must demonstrate that the

falsity caused an actual loss to the government. Causation is not an explicit element of a False

Claims Act prima facie case, as currently formulated. See Wilkins, 659 F.3d at 305. EDMC’s

reliance on Hibbs is misplaced because Hibbs was based on the pre-1982 version of the False

Claims Act, which limited the government to recovery of damages “sustained by reason of the

doing or committing” false claims. The False Claims Act has since been amended.14 In United

States v. Merck-Medco Managed Care, L.L.C., 336 F. Supp.2d 430, 441-42 (E.D. Pa. 2004), the

Court clarified:

         The FCA is a statute designed to protect the Government's coffers from fraud and
         from attempted fraud. Thus, a causal link between a false claim and economic
         harm must be possible, plausible, and pleaded, even though the claim need not
         actually be paid for liability to attach under specific provisions of the FCA (i.e. 31
         U.S.C. § 3729(a)(1)). Rather, to avoid dismissal a complaint must allege that, at
         the very least, the Government could have been harmed. Medco is, in this respect,
         quite incorrect in its statement that “damages and loss causation are preconditions
         of FCA liability.” Medco Reply at 5. Medco has craftily blurred the distinction
         between different provisions of the FCA—specifically, between § 3729(a)(1) and
         (2). Although every FCA claim does not hinge upon the Government suffering
         monetary damages, liability attaches if a demand for money has been made on the
         government, the government “has been billed for nonexistent or worthless goods,
         [or] charged exorbitant prices, or the fraud might cause the government to suffer
         economic loss.” United States ex rel Watson v. Connecticut General Life Ins. Co.,
         87 Fed. Appx. 257, 260 (3d Cir. 2004) (emphasis added). The law in the Third
         Circuit is settled that a claim brought under 31 U.S.C. § 3729(a)(1) need not
         actually be paid to be actionable. Because a claim need not be paid to be


14 Section 3729 now provides for a civil penalty “plus 3 times the amount of damages which the Government

sustains because of the act of that person.”

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       actionable, a plaintiff does not, as a concrete rule, need to plead damages and
       causation to proceed in every case.

In any event, Plaintiffs have adequately pled an economic loss, in that EDMC’s alleged

misrepresentations enabled it to receive billions of dollars of student aid funds. In Hendow, the

Court rejected a similar argument and observed that participation and eligibility to receive

federal funds are “explicitly conditioned” on compliance with the Incentive Compensation Ban.

461 F.3d at 1175 (emphasis in original). This reasoning is persuasive at this stage of the case.

Plaintiffs have adequately pled that the alleged violation of the Incentive Compensation Ban

caused economic loss to the governments.



                       4. Condition of Participation or Payment?

       EDMC argues that even assuming arguendo that it paid ADAs improperly, the False

Claims Act claims must be dismissed because compliance with the Incentive Compensation Ban

was a “condition of participation” rather than a “condition of payment.” In other words, EDMC

might face a loss of eligibility to participate in student aid, but payments EDMC has already

received would not be implicated. In essence, EDMC contends that ADA compensation is not a

core programmatic concern such that compliance with the Incentive Compensation Ban should

be enforced administratively by the Department of Education rather than through the drastic

penalties available under the False Claims Act.

       EDMC relies heavily upon Wilkins, 659 F.3d at 295, a qui tam False Claims Act case in

which the relators alleged that their employer had knowingly violated several Medicare

marketing regulations. Id. at 300. The Court of Appeals for the Third Circuit cautioned: “the

implied certification theory of liability should not be applied expansively, particularly when

advanced on the basis of FCA allegations arising from the Government's payment of claims

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under federally funded health care programs.” Id. at 307. The Court further explained that the

False Claims Act “was not designed for use as a blunt instrument to enforce compliance with all

medical regulations – but rather only those regulations that are a precondition to payment.” Id.

(citation omitted). A violation concerns a “condition of payment” if such violation “might

cause [the government] to actually refuse payment.” Id. (citing United States ex rel Conner v.

Salina Regional Health Center, Inc., 543 F.3d 1211, 1220 (10th Cir. 2008)).                              In Wilkins, the

Court held that the alleged violations of Medicare marketing regulations were not conditions of

payment and noted that the relators had failed to cite examples, in case law or otherwise, of the

government seeking recovery of Medicare payments for services that a provider had actually

performed due to non-compliance with marketing regulations. 15 Id. at 310.

          This case is distinguishable from Wilkins because the Incentive Compensation Ban is

simply not analogous to Medicare marketing regulations. In Hendow, 461 F.3d at 1175, the

Court distinguished the Medicare context and rejected the argument that “the Incentive

Compensation Ban [was] nothing more than one of hundreds of boilerplate requirements.” 461

F.3d at 1175. The Court further reasoned that in the absence of False Claims Act liability, “the

University would be virtually unfettered in its ability to receive funds from the government while

flouting the law.” Id. at 1176. Accord Main, 426 F.3d at 914 (“if the University knew about the

rule and told the Department that it would comply, while planning to do otherwise, it is exposed

to penalties under the False Claims Act”). In Conner, 543 F.3d at 1222, the Court explicitly

stated that the Incentive Compensation Ban at issue in Hendow provided a “telling contrast” to

an alleged violation of Medicare regulations. Wilkins cited Conner with approval and did not




15 The Court reversed, in part, on the ground that alleged violations of the Anti-Kickback statute did constitute a “condition of

payment.” Id. at 313-14.

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disavow or disagree with Hendow or Main.16 In sum, Wilkins does not mandate dismissal as a

matter of law.



       In summary, the Court will deny the motion to dismiss the False Claims Act challenges to

the Plan “as implemented.” This theory is inherently difficult to resolve at the motion to dismiss

stage. The Complaint provides adequate notice of Plaintiff’s theory, such that EDMC is able to

prepare a responsive pleading. It will be incumbent upon Plaintiffs to develop admissible

evidence to support the theory, but they have adequately pled a cognizable claim.



      II.        State False Claims Act Claims

       The parties’ arguments regarding the state law False Claims Act claims essentially mirror

their positions as to the federal claims. The parties recognize that the state False Claims Act

statutes are interpreted consistent with the federal statute in all material respects. Accordingly,

the claims based on the Plan “as written” suffer from the same flaws identified above and the

claims based on the Plan “as implemented” appear to be cognizable.

       However, EDMC argues that compliance with the federal Incentive Compensation Ban is

not a requirement for state funding. In addition, EDMC makes several targeted arguments as to

individual states: (1) that Indiana had no False Claims Act prior to 2005 and Minnesota had no

False Claims Act until 2010; (2) that Minnesota did not condition state funding on participation

in the federal program, pursuant to Minn. Stat. § 136A.103(b)(3)(i); (3) that California

authorized incentive compensation pay to ADAs per Cal. Ed. Code § 94832(e); (4) that Florida


16 The Court is not convinced that the requests for payment submitted by EDMC were

“factually false” as defined in Wilkins. However, because the “as implemented” claims survive
under the “legally false” and “fraudulent inducement” rationales, the Court need not finally
resolve this issue at this stage of the proceedings.

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repealed its Incentive Compensation Ban in 2003 pursuant to Fla. Stat. Ann. § 246.081(4); and

(5) that California’s Institutional Participation Agreement (“IPA”) bars it from recovering treble

damages.

       Plaintiffs contend that compliance with the federal Incentive Compensation Ban was, in

fact, a material requirement for state funding. Plaintiffs further contend that all the elements of

their False Claims Act statutes have been satisfied. Indiana and Minnesota represent that they

are not seeking retroactive application of their respective False Claims Acts. The states contend

that Minn. Stat. § 136A.103(b)(3)(i) does not apply to EDMC because it had already been

participating in the Pell Grant program; that California does not permit the type of incentive

compensation to ADAs alleged in this case17 and that the provision cited by EDMC was repealed

in 2007; that the repeal of Florida’s Incentive Compensation Ban is irrelevant because its claim

is based on the false certification of compliance with the federal ban; and that California is

entitled to seek treble damages, as the provision cited by EDMC does not apply to statutory

violations and cannot limit the state’s police power.

       Plaintiffs specifically allege, numerous times, that state funding was conditioned on

compliance with the federal Incentive Compensation Ban. See, e.g., Intervenor Complaint ¶¶

174, 176, 198, 303, 318, 330; Minnesota Complaint ¶ 25, 26. The states also contend that their

various False Claims Acts remain applicable to EDMC’s conduct. Resolution of these issues

would benefit from a more fully developed evidentiary record. The Complaints aver that EDMC

obtained funds from the states; that EDMC’s representations of compliance with the Incentive

Compensation Ban were false; and that EDMC acted knowingly. Thus, Plaintiffs have pled all



17 California contends that § 94832(e)(2)(B) conditioned compensation on “satisfactory

academic progress” while EDMC’s Plan awarded credit immediately upon enrollment.
Intervenor Complaint ¶ 114.

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of the elements of a prima facie case under the state False Claims Acts for the Plan, as

implemented.



      III.     Federal and State Common Law Claims

       EDMC contends that the United States’ claims for unjust enrichment and mistake of fact

should be dismissed as a matter of law. EDMC argues that: (1) they are preempted by the

regulatory scheme created by Congress to enforce the HEA; (2) the claims are really for breach

of contract (the PPA); and (3) the United States would receive a double recovery because the

students who received government funding were educated. EDMC asserts similar reasons for

dismissal of the state common law claims. Plaintiffs contend that their claims are not preempted;

are not based on EDMC’s alleged contractual breaches of the PPA, but on the false statements

contained therein; and that they did not receive the benefit of their bargain.

       The Court concludes that the common law claims are not subject to dismissal at this stage

of the case. Federal Rule of Civil Procedure 8(d)(3) authorizes pursuit of inconsistent claims or

defenses. In United States v. Silliman, 167 F.2d 607, 611 (3d Cir. 1948), the Court of Appeals

for the Third Circuit held that the False Claims Act does not preempt federal common law

remedies. This analysis also applies to the common law claims asserted by the states to recover

the separate state funds each provided to EDMC and/or its students. See Green v. Fund Asset

Mgmt., L.P., 245 F.3d 214, 222 n.7, 223-24 (3d Cir. 2001) (rejecting contention that state claims

were preempted). Moreover, the parties’ relationship is not purely contractual, because the PPA

was executed within the context of the broader federal and state student aid statutory and

regulatory framework. See Hendow, 461 F.3d at 1168 (noting the “panoply of statutory,

regulatory, and contractual requirements”). The mere fact that students received an education



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does not entirely mitigate the governments’ damages. Id. at 1176 (rejecting idea that schools

could be unfettered in their ability to receive government funds while flouting the Incentive

Compensation Ban). In sum, the Court concludes that the common law claims will not be

dismissed.



      IV.     Status of Relator Mahoney

       EDMC argues that the Court lacks jurisdiction over Michael Mahoney’s claims, pursuant

to the “first filed” bar in 31 U.S.C. § 3730(b)(5). That provision states: “When a person brings

an action under this subsection, no person other than the Government may intervene or bring a

related action based on the facts underlying the pending action.” (Emphasis added). EDMC

cites United States ex rel St. John LaCorte v. SmithKline Beecham Clinical Labs, Inc., 149 F.3d

227, 232-34 (3d Cir. 1998), for the proposition that § 3730 bars any new claims arising from

events that are already the subject of existing actions. Plaintiffs contend that this provision is not

implicated because Mahoney did not “intervene” or “bring a related action.” Rather, Mahoney

and Washington entered into a private arrangement to name Mahoney as an additional relator in

an amended complaint in this same case.

       Although there is some authority on each side of this issue, the Court agrees with

Plaintiffs.18 The plain text of § 3730(b)(5) does not apply to the unique procedural status of this

case because Mahoney is not “intervening” or bringing a “related action.” See United States ex

rel. Precision Co. v. Koch Industries, Inc., 31 F.3d 1015, 1017 (10th Cir.1994); Accord United

States ex rel. Howard v. Lockheed Martin Corp., 2011 WL 4348104 (S.D. Ohio 2011) (noting

split authority but permitting amendment to add additional relator on statutory interpretation and

       18 As a practical matter, the addition of Mahoney as a relator may be of limited impact

because the United States has intervened and is vigorously pursuing this case.

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policy grounds). St. John LaCorte is distinguishable, as that case did not involve an additional

plaintiff added to the same lawsuit. Indeed, in St. John LaCorte, the Court noted – without

disapproval – that in one of the underlying qui tam cases, a relator (Grossenbacher) was “later

joined by” another relator (Robinson). 149 F.3d at 230. In sum, the Court will not dismiss

Mahoney as a relator.



       V.     Motion to Strike


       EDMC contends that allegations regarding its “perfectly legal conduct” should be

stricken from the Complaint pursuant to Fed. R. Civ. P. 12(f). For example, EDMC asks the

Court to strike averments which set forth EDMC’s emphasis on tracking ADA enrollment and

recruiting performance data; termination of ADAs who failed to meet performance targets; and

references to the President’s Club and other prizes. The court may strike from a pleading “an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”

Fed.R.Civ.P. 12(f). As this Court recently explained in Simmons v. Nationwide Mut. Fire Ins.

Co.:


       A decision to grant or deny a motion to strike a pleading is vested in the trial
       court's discretion. “The purpose of a motion to strike is to clean up the pleadings,
       streamline litigation, and avoid unnecessary forays into immaterial matters.”
       Motions to strike are decided on the pleadings alone. Because a motion to strike is
       not favored, a court will generally not grant such a motion unless the material to
       be stricken bears no possible relationship to the controversy and may cause
       prejudice to one of the parties.

788 F. Supp.2d 404, 407 (W.D. Pa. 2011) (citations omitted). The averments challenged by

EDMC are not redundant, immaterial, impertinent, or scandalous and they are related to the

matters at issue. Accordingly, the motion to strike will be DENIED.



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      VI.     District of Columbia Complaint

       EDMC filed a separate motion to dismiss the complaint filed by the District of Columbia

in November 2011, after briefing had already commenced. The District asserts two claims under

its False Claims Act and one claim for unjust enrichment. D.C. incorporates by reference many

of the factual allegations in the Intervenor Complaint and the parties’ respective arguments also

largely mirror those discussed above.

       However, EDMC also argues that D.C.’s claims are barred by the applicable statutes of

limitations. EDMC points out that D.C. was first named as a party in the Relators’ Second

Amended Complaint, which was filed on May 2, 2011. D.C. contends that its claims are timely

and properly pled. The Court will not address the parties’ substantive arguments because it

agrees with EDMC that D.C.’s claims are untimely.

       D.C. pleads in Complaint ¶ 24 that it seeks to recover grant awards made “between 2003

and 2005.” D.C.’s False Claims Act has a six-year statute of limitations. D.C. Code § 2-381.05.

The unjust enrichment claim is subject to a three-year statute of limitations. D.C. Code § 12-

301(8). D.C. does not contest that these claims would otherwise be time-barred. However, it

argues that they should “relate back” to the filing of the Relators’ initial Complaint pursuant to

Fed. R. Civ. P. 15(c).

       In Nelson v. County of Allegheny, 60 F.3d 1010, 1014-15 (3d Cir. 1995), the Court of

Appeals for the Third Circuit explained that where the effort to amend and “relate back” is to add

new plaintiffs, the Court must inquire whether the defendants received such notice that they will

not be prejudiced. The Court explained:

       Statutes of limitations ensure that defendants are “protected against the prejudice
       of having to defend against stale claims, as well as the notion that, at some point,
       claims should be laid to rest so that security and stability can be restored to human
       affairs.” Cunningham, 530 A.2d at 409 (citations omitted). In order to preserve

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       this protection, the relation-back rule requires plaintiffs to show that the already
       commenced action sufficiently embraces the amended claims so that defendants
       are not unfairly prejudiced by these late-coming plaintiffs and that plaintiffs have
       not slept on their rights.

Id. The Court then cited Leachman v. Beech Aircraft Corp., 694 F.2d 1301, 1309 (D.C. Cir.

1982), for the proposition that a failure to limit the “relation back” doctrine:

       would allow the tardy plaintiffs to benefit from the diligence of the other victims
       and, more importantly, could cause defendants' liability to increase geometrically
       and their defensive strategy to become far more complex long after the statute of
       limitations had run. Even if, as here, there were no showing of specific prejudice
       in the sense of lost or destroyed evidence, defendants would still be deprived of
       their interest in repose. At some point, defendants should have notice of who their
       adversaries are.

Id. See also Asher v. Unarco Material Handling, Inc., 596 F.3d 313, 318 (6th Cir. 2010)

(citations omitted) (amendment which adds new Plaintiff does not relate back and cannot be

maintained when the statute of limitations has run).

       The Court concludes that the requirements for the “relation back” doctrine have not been

met in this case. D.C. is a tardy Plaintiff which seeks to benefit from the diligence of others.

D.C.’s claims were not embraced by the Relators’ earlier Complaints because D.C. is attempting

to recover for alleged misrepresentations made to the District, not to the other Plaintiffs. EDMC

did not receive notice of D.C.’s claims within the limitations period and there is no indication

that the failure to name D.C. earlier was due to a mistake concerning its identity. Even though

there has been no showing of specific prejudice, EDMC “would still be deprived of [its] interest

in repose.”

       Accordingly DEFENDANTS’ MOTION TO DISMISS COMPLAINT IN

INTERVENTION BY THE DISTRICT OF COLUMBIA (Document No. 165) will be

GRANTED.




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Conclusion


       This is a massive and complex case. It is certainly possible that EDMC has properly

compensated its ADAs in compliance with all government requirements. Indeed, the Court has

concluded that claims based on EDMC’s Compensation Plan “as written” must be dismissed.

However, the Court concludes that the claims based on the Plan “as implemented” will not be

dismissed. At this stage of the proceedings, the Court merely concludes that Plaintiffs’

allegations of a company-wide fraud, viewed in the light most favorable to Plaintiffs and

assumed to be true, are cognizable. Plaintiffs are entitled to take discovery in an effort to prove

these allegations.




       An appropriate Order follows.




                                              McVerry, J.




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            IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA, AND THE        )
STATES OF CALIFORNIA, FLORIDA,           )
ILLINOIS, INDIANA, MASSACHUSETTS,        )
MINNESOTA, MONTANA, NEW JERSEY,          )
NEW MEXICO, NEW YORK, AND                )
TENNESSEE, AND THE DISTRICT OF           )
COLUMBIA, each ex rel. LYNNTOYA          )   Civil Action
WASHINGTON and MICHAEL T.                )   No. 07-CV-461
MAHONEY,                                 )
               Plaintiffs,               )
            v.                           )
                                         )
EDUCATION MANAGEMENT                     )
CORPORATION; EDUCATION                   )
MANAGEMENT HOLDINGS LLC;                 )
EDUCATION MANAGEMENT LLC; THE            )   ORDER OF COURT
ART INSTITUTE OF CALIFORNIA –            )
HOLLYWOOD; THE ART INSTITUTE OF          )
CALIFORNIA – INLAND EMPIRE; THE ART      )
INSTITUTE OF CALIFORNIA – LOS            )
ANGELES; THE ART INSTITUTE OF            )
CALIFORNIA – ORANGE COUNTY; THE          )
ART INSTITUTE OF CALIFORNIA –            )
SACRAMENTO; THE ART INSTITUTE OF         )
CALIFORNIA – SAN DIEGO; THE ART          )
INSTITUTE OF CALIFORNIA – SAN            )
FRANCISCO; THE ART INSTITUTE OF          )
CALIFORNIA – SUNNYVALE; ARGOSY           )
UNIVERSITY, INLAND EMPIRE; ARGOSY        )
UNIVERSITY, ORANGE COUNTY; ARGOSY        )
UNIVERSITY, SAN DIEGO; ARGOSY            )
UNIVERSITY, SAN FRANCISCO; ARGOSY        )
UNIVERSITY, SANTA MONICA; WESTERN        )
STATE UNIVERSITY COLLEGE OF LAW;         )
THE ART INSTITUTE OF FORT                )
LAUDERDALE; THE ART INSTITUTE OF         )
JACKSONVILLE; THE ART INSTITUTE OF       )
TAMPA; MIAMI INTERNATIONAL               )
UNIVERSITY OF ART & DESIGN; ARGOSY       )
UNIVERSITY, SARASOTA; ARGOSY             )
UNIVERSITY, TAMPA; SOUTH                 )

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UNIVERSITY/WEST PALM BEACH; SOUTH        )
UNIVERSITY/TAMPA; BROWN MACKIE           )
COLLEGE – MIAMI; THE ILLINOIS            )
INSTITUTE OF ART – CHICAGO; THE          )
ILLINOIS INSTITUTE OF ART –              )
SCHAUMBERG; ARGOSY UNIVERSITY,           )
CHICAGO; ARGOSY UNIVERSITY,              )
SCHAUMBURG; BROWN MACKIE                 )
COLLEGE – MOLINE; THE ART                )
INSTITUTE OF INDIANAPOLIS; BROWN         )
MACKIE COLLEGE – MERRILLVILLE;           )
BROWN MACKIE COLLEGE – MICHIGAN          )
CITY; BROWN MACKIE COLLEGE – FORT        )
WAYNE; BROWN MACKIE COLLEGE –            )
SOUTH BEND; BROWN MACKIE COLLEGE         )
– INDIANAPOLIS; THE ART INSTITUTES       )
INTERNATIONAL MINNESOTA; ARGOSY          )
UNIVERSITY, TWIN CITIES; BROWN           )
MACKIE COLLEGE – ALBUQUERQUE;            )
THE ART INSTITUTE OF NEW YORK CITY;      )
THE ART INSTITUTE OF TENNESSEE –         )
NASHVILLE; ARGOSY UNIVERSITY,            )
NASHVILLE; THE ART INSTITUTE OF          )
ATLANTA; THE ART INSTITUTE OF            )
ATLANTA – DECATUR; THE ART               )
INSTITUTE OF AUSTIN; THE ART             )
INSTITUTE OF CHARLESTON; THE ART         )
INSTITUTE OF CHARLOTTE; THE ART          )
INSTITUTE OF COLORADO; THE ART           )
INSTITUTE OF DALLAS; THE ART             )
INSTITUTE OF FORT WORTH; THE ART         )
INSTITUTE OF HOUSTON; THE ART            )
INSTITUTE OF HOUSTON – NORTH; THE        )
ART INSTITUTE OF LAS VEGAS; THE ART      )
INSTITUTE OF MICHIGAN; THE ART           )
INSTITUTE OF OHIO – CINCINNATI; THE      )
ART INSTITUTE OF PHILADELPHIA; THE       )
ART INSTITUTE OF PHOENIX; THE ART        )
INSTITUTE OF PITTSBURGH; THE ART         )
INSTITUTE OF PORTLAND; THE ART           )
INSTITUTE OF RALEIGH – DURHAM; THE       )
ART INSTITUTE OF SAN ANTONIO; THE        )
ART INSTITUTE OF SALT LAKE CITY;         )
THE ART INSTITUTE OF SEATTLE; THE        )
ART INSTITUTE OF TUCSON; THE ART         )
INSTITUTE OF VANCOUVER; THE ART          )

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INSTITUTE OF VIRGINIA BEACH; THE         )
ART INSTITUTE OF WASHINGTON; THE         )
ART INSTITUTE OF WASHINGTON –            )
NORTHERN VIRGINIA; THE ART               )
INSTITUTE OF WISCONSIN; THE ART          )
INSTITUTE OF YORK – PENNSYLVANIA;        )
THE ART INSTITUTES INTERNATIONAL –       )
KANSAS CITY; THE NEW ENGLAND             )
INSTITUTE OF ART; ARGOSY                 )
UNIVERSITY, ATLANTA; ARGOSY              )
UNIVERSITY, DALLAS; ARGOSY               )
UNIVERSITY, DENVER; ARGOSY               )
UNIVERSITY, HONOLULU; ARGOSY             )
UNIVERSITY, PHOENIX; ARGOSY              )
UNIVERSITY, SALT LAKE CITY; ARGOSY       )
UNIVERSITY, WASHINGTON D.C.; SOUTH       )
UNIVERSITY/SAVANNAH; SOUTH               )
UNIVERSITY/MONTGOMERY; SOUTH             )
UNIVERSITY/COLUMBIA; SOUTH               )
UNIVERSITY/RICHMOND; SOUTH               )
UNIVERSITY/NOVI; SOUTH                   )
UNIVERSITY/VIRGINIA BEACH; BROWN         )
MACKIE COLLEGE – AKRON; BROWN            )
MACKIE COLLEGE – CINCINNATI;             )
BROWN MACKIE COLLEGE – FINDLAY;          )
BROWN MACKIE COLLEGE – NORTHERN          )
KENTUCKY; BROWN MACKIE COLLEGE –         )
NORTH CANTON; BROWN MACKIE               )
COLLEGE – ATLANTA; BROWN MACKIE          )
COLLEGE – KANSAS CITY; BROWN             )
MACKIE COLLEGE – SALINA; BROWN           )
MACKIE COLLEGE – LOUISVILLE;             )
BROWN MACKIE COLLEGE –                   )
HOPKINSVILLE; BROWN MACKIE               )
COLLEGE – TUCSON; BROWN MACKIE           )
COLLEGE – BOISE; BROWN MACKIE            )
COLLEGE – TULSA; BROWN MACKIE            )
COLLEGE – PHOENIX; BROWN MACKIE          )
COLLEGE – GREENVILLE; BROWN              )
MACKIE COLLEGE – ST. LOUIS; BROWN        )
MACKIE COLLEGE – SAN ANTONIO,            )
                Defendants.              )




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                                          ORDER OF COURT

        AND NOW, this 11th day of May, 2012, in accordance with the foregoing Memorandum

Opinion, it is hereby ORDERED, ADJUDGED, and DECREED that DEFENDANTS’ MOTION

TO DISMISS PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND

12(b)(6), AND, IN THE ALTERNATIVE, MOTION TO STRIKE UNDER FEDERAL RULE

OF CIVIL PROCEDURE 12(f) (Document No. 145) is GRANTED IN PART AND DENIED

IN PART as follows:

        (1) the motion to dismiss claims based on the EDMC Compensation Plan “as written” is

GRANTED;

        (2) Count III of the Intervenor Complaint is limited to claims pending on or after June 7,

2008;

        (3) the Indiana and Minnesota False Claims Act claims are limited to conduct since the

enactment of those statutes in 2005 and 2010, respectively;

        (4) the motion to dismiss relator Mahoney is DENIED;

        (5) the motion to strike averments pursuant to Fed. R. Civ. P. 12(f) is DENIED; and

        (6) in all other respects, the motion is DENIED.



        DEFENDANTS’ MOTION TO DISMISS COMPLAINT IN INTERVENTION BY THE

DISTRICT OF COLUMBIA (Document No. 165) is GRANTED. The District of Columbia is

dismissed as a party and the caption shall be so amended.




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       EDMC shall file an Answer as to the remaining Complaints on or before June 11, 2012.

EDMC shall also file a response as to Counts 6 and 8-14 of the Relator Complaint on or before

June 11, 2012.



       For the convenience of all concerned, the Court and parties shall utilize the following

“short form” of the caption for future filings in this case:



UNITED STATES OF AMERICA, et al.                               )
               Plaintiffs,                                     )
          v.                                                   )      Civil Action No. 07-461
EDUCATION MANAGEMENT CORPORATION,                              )
et al.,                                                        )
               Defendants.                                     )



                                                       BY THE COURT:

                                                       s/ Terrence F. McVerry
                                                       United States District Judge




cc:    All counsel of record
       (Via CM/ECF)




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